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 6                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7
     JOHNANAS JOHNSON and JENNIFER
 8   JOHNSON, husband and wife,                            No.

 9                                 Plaintiffs,             COMPLAINT FOR DAMAGES FOR
                                                           PERSONAL INJURIES
10       v.

11   UNITED STATES OF AMERICA,

12                                 Defendant.

13

14
              COME NOW the Plaintiffs, above-named, by and through their attorneys of record,
15
     Stritmatter Kessler Koehler Moore and Parker, Winkelman & Parker, P.S. and for cause of action
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     against the Defendant, allege and state as follows:
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                                     I. STATUS OF THE PARTIES
18
              1.1   Plaintiffs Johnanas Johnson and Jennifer Johnson are husband and wife and reside
19
     in Hoquiam, Washington.
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              1.2   The United States Postal Service (USPS) is an agency of Defendant United States
21
     of America. The claims asserted herein against the USPS are treated at law as claims against the
22
     United States of America.
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     COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES - 1
                                                                                            413 - 8th Street
                                                                                            Hoquiam, WA 98550
                                                 STRITMATTER KESSLER KOEHLER MOORE          Tel: 360-533-2710
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 1                                    II. JURISDICTION AND VENUE

 2          2.1        On December 3, 2019, Plaintiffs mailed federal tort claims to the Chief Counsel,

 3   Torts, General Law Service Center, USPS National Tort Center, 1720 Market Street, Room 2400,

 4   St. Louis, MO 63155-9948. A true and correct copy of the December 27, 2019 letter from Ann

 5   Mandernach, Tort Claims Examiner/Adjudicator with the USPS Law Department National Tort

 6   Center acknowledging receipt of the federal tort claims is attached as Exhibit A. The letter from

 7   Ann Mandernach states that the tort claims were received by the USPS on December 12, 2019 and

 8   that “the Postal Service has six months from December 12, 2019 in which to adjudicate these

 9   claims.” More than six months have passed since December 12, 2019, and the Postal Service has

10   failed to respond to the tort claims other than the December 27, 2019 letter from Ann Mandernach.

11   Pursuant to 28 U.S.C. § 2675(a), Plaintiffs opt to deem the Postal Service’s failure to make a final

12   disposition of the claims within six months after they were filed as a final denial of the claims and

13   proceed with the filing of this lawsuit.

14           2.2       The federal tort claims referenced above concerned the circumstances and injuries

15   alleged herein.

16          2.3        The United States District Court has original jurisdiction over the subject matter of

17   the claims asserted herein against the United States of America (USPS).

18          2.4        Venue for this matter exists in the United States District Court for the Western

19   District of Washington at Tacoma, because the Plaintiffs reside within this judicial district, and the

20   acts and omissions that are the subject matter of this lawsuit occurred within this judicial district.

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 1                       III. FACTS FORMING THE BASIS FOR LIABILITY

 2           3.1     November 10, 2018 was a beautiful fall day. Plaintiff Johnanas “John” Johnson

 3   practiced with the soccer team he coached in the morning and then went to the Bishop Athletic

 4   Complex in Aberdeen, Washington to watch a soccer game. Since it was a nice day and he was

 5   going by himself, he decided to ride his motorcycle to the soccer game. After enjoying the soccer

 6   game, he put his motorcycle gear on and left for home.

 7           3.2     On his way home, shortly before 11:00 a.m., Mr. Johnson stopped at a 7-Eleven

 8   store (411 S. Boone St., Aberdeen, WA) to put gas in his motorcycle. Upon leaving the 7-Eleven

 9   parking lot, he turned left onto McFarland Street and stopped at a STOP sign at the intersection of

10   McFarland Street and Boone Street. Mr. Johnson had his left turn signal on, indicating his

11   intention to turn left (north) onto Boone Street.

12           3.3     At the same time, a USPS truck driven by Michael Murray was delivering mail to

13   the Thai Carrot restaurant at 412 S. Boone Street. After delivering the mail, Mr. Murray was

14   stopped in the Thai Carrot parking lot, facing Boone Street, intending to turn left (south) onto

15   Boone Street.

16           3.4     Boone Street has two southbound lanes, two northbound lanes, and a center turn

17   lane.

18           3.5     After checking that traffic was clear, Mr. Johnson pulled out and crossed the two

19   southbound lanes of Boone Street and entered the center/turn lane, intending to move over into the

20   left/inside northbound lane, at which time the right front of his motorcycle was struck by the USPS

21   truck driven by Mr. Murray, which had accelerated from the Thai Carrot parking lot through the

22   northbound lanes of Boone Street.

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 1          3.6     A video camera at the 7-Eleven store captured the collision. City of Aberdeen

 2   Police Officer Brandi Zieber reviewed the video and summarized it as follows:

 3          I obtained video of the collision from the 7-Eleven. I observed Unit 1 [the USPS vehicle]
            cross the roadway directly in front of Unit 2 [Mr. Johnson’s motorcycle], which had just
 4          turned onto Boone St. from McFarland St. Unit 2 appeared to have accelerated at a
            reasonable speed. There was enough distance between McFarland St. and where the
 5          collision occurred that I believe there to be no reason Driver 1 [Murray] would not have
            had enough time to see Unit 2 traveling north.
 6

 7          3.7     Consistent with the video footage, eyewitness Frederick Doe stated that Mr.

 8   Johnson had pulled out onto Boone Street and was in the center turn lane when the USPS truck

 9   pulled out onto Boone Street.

10          3.8     RCW 46.61.205 provides as follows: “The driver of a vehicle about to enter or

11   cross a highway from a private road or driveway shall yield the right-of-way to all vehicles lawfully

12   approaching on said highway.”

13          3.9     Mr. Murray failed to yield the right of way to Mr. Johnson.

14          3.10    The negligence of USPS employee Michael Murray was a proximate cause of the

15   collision and the resulting injuries and damages to Plaintiffs.

16          3.11    Defendant United States of America is liable for the negligence of USPS employee

17   Michael Murray.

18          3.12    Mr. Johnson was thrown from his motorcycle as a result of the impact. His shoes

19   came off. His body was thrown into the air, and he landed on the pavement on his back. He slid

20   on his back and then rolled over onto his stomach.

21          3.13    The tip of Mr. Johnson’s right middle finger was amputated, and he had an avulsion

22   to the tip of his right index/pointer finger. The nail bed of his right index finger was almost

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     COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES - 4
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 1   completely torn off. His finger injuries required surgical treatment. Mr. Johnson also had injuries

 2   to his ribs, abdomen, right knee, left hand, both feet, low back and tailbone, and left buttock.

 3                                             IV. DAMAGES

 4
            4.1      As a direct and proximate result of Defendant’s tortious conduct, Plaintiff John
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     Johnson sustained injures, damages and losses, including but not limited to:
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 7                a. Economic

 8                      i.   Medical Expenses, both past and future;

                      ii.    Loss of earnings, both past and future;
 9
                      iii.   Impairment of earning capacity;
10
                      iv.    Other out-of-pocket expenses; and
11
                       v.    Other recoverable economic damages, all in amounts to be proven at trial.
12
                  b. Non-economic
13
                        i.   Past and future pain;
14
                      ii.    Past and future physical and emotional suffering;
15
                      iii.   Past and future disability;
16                    iv.    Past and future disfigurement and scarring;
17                     v.    Past and future loss of enjoyment of life;
18                    vi.    Other recoverable non-economic damages, all in amounts to be proven at
                             the time of trial.
19
            4.2      As a direct and proximate result of Defendant’s tortious conduct, Plaintiff Jennifer
20
     Johnson suffered a loss of consortium, including the company, cooperation and aid of her husband
21
     John Johnson, as well as love, affection, care, society, services, companionship, and assistance
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     from one spouse to the other. The character and nature of their relationship and interaction were
23
     altered and damaged, all to Jennifer Johnson’s general damages, in an amount to be proved at trial.
24

     COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES - 5
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 1                                     V. PRAYER FOR RELIEF

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                   Based upon the foregoing, Plaintiffs pray for judgment against Defendant as
 3
     follows:
 4
                a. A judgment of liability against the Defendant for the Plaintiffs’ injuries and losses;
 5
                b. Compensation for all economic losses sustained by the Plaintiffs, past and future;
 6
                c. Compensation for all non-economic losses sustained by the Plaintiffs, past and
 7                 future;

 8              d. Pre-judgment interest, to the extent permitted by law;

 9              e. Reasonable and statutory attorney’s fees and costs to the extent permitted by law;
                   and
10
                f. Such other and further relief as the Court deems just.
11

12          DATED this 19th day of June, 2020.

13
                                                STRITMATTER KESSLER KOEHLER MOORE
14
                                                /s/ Ray W. Kahler
15                                              Ray W. Kahler, WSBA #26171
                                                Co-Counsel for Plaintiffs
16

17                                              PARKER, WINKELMAN & PARKER, P.S.

18                                              /s/ Benjamin R. Winkelman
                                                Benjamin R. Winkelman, WSBA #33539
19                                              Co-Counsel for Plaintiffs

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     COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES - 6
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